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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                   Southern Division

IN RE: MARRIOTT                                *
INTERNATIONAL CUSTOMER
DATA SECURITY BREACH                           *
LITIGATION
                                               *
                                                     MDL No.: 19-md-2879
THIS DOCUMENT RELATES TO                       *
ALL ACTIONS                                          JUDGE GRIMM

                                               *
*    *      *     *    *     *    *     *             *    *     *     *     *     *    *       *
                SECOND AMENDED STIPULATED PROTECTIVE                       ORDER

         WHEREAS, Plaintiffs and Defendants Marriott International, Inc., Starwood Hotels and

Resorts Worldwide, LLC, and Marriott Hotel Services, Inc. (collectively, the "Parties") in the

above-captioned matter agree that the proceedings may involve the discovery and disclosure of

confidential, non-public, sensitive, and/or proprietary business, employment, tax, financial,

and personally identifiable information, documents and other materials;

         WHEREAS, the Parties agree that such "Confidential" or "Highly Confidential"

information will be disclosed only as provided herein;

         WHEREAS, the Parties agree to protect certain privileged and otherwise protected

documents, data (including electronically stored information) and other information, including

without limitation, metadata (collectively "Documents"), against claims of waiver in the event

they are disclosed during the course of this litigation whether pursuant to a Court Order, a

Party's discovery request, or informal production;

         WHEREAS, the Parties may be required to produce large volumes of Documents, the

Parties wish to comply with discovery deadlines and complete discovery as expeditiously as
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   possible, while preserving and without waiving any evidentiary protections or privileges

   applicable to the information contained in the Documents produced, including as against third

   parties and other Federal and State proceedings and, accordingly, have agreed to certain

   protections under FRE S02(d) and (e) as outlined herein and ordered by the Court;

             WHEREAS, the Parties may serve subpoenas for production of documents on certain

   other individuals and entities that are not Parties to the Actions, but that may be entitled to the

   same types of privileges, protections, and assurances of confidentiality available to or agreed

   upon by the Parties.

              WHEREAS, this Amended Stipulated Protective Order and Clawback Order (the

   "Order") is designed to foreclose any arguments that the disclosure of Documents subject to a

   legally recognized claim of privilege, including without limitation the attorney-client privilege,

   work-product doctrine, or other applicable privilege, in any way waives or limits such privilege,

   including arguments:

              (a) that the Producing Party did not take reasonable steps to prevent the disclosure
              of privileged Documents;

              (b) that the Producing Party did not take reasonable or timely steps to rectify such
              disclosure; and/or

              (c) that such disclosure acts as a waiver of applicable privileges or protections
              associated with such Documents.

              WHEREAS, the Parties recognize that discovery conducted in some of the Actions, as

   defined in Section lea), infra, coordinated with this multi-district litigation must proceed in a

   manner that is consistent with the restrictions applicable to discovery in the others;

              WHEREAS, because the purpose of this Order is to protect and preserve privileged

   Documents, the Parties agree they are bound as follows from and after the date their counsel

   have signed it, even if such execution occurs prior to Court approval.

         THEREFORE, the Parties seek entry of an Order, pursuant to Federal Rule of Civil

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   Procedure 26( c), governing the disclosure of documents and information therein designated as

   "Confidential"      or "Highly Confidential"   on the terms set forth herein, as well as an Order,

   pursuant to Federal Rule of Evidence 502, governing the return of privileged produced

   documents and data and affording them the protections of Federal Rule of Evidence 502(d) and

   (e), on the terms set forth herein.

              THE PARTIES HEREBY STIPULATE AND AGREE AS FOLLOWS:

         1. DEFINITIONS.

              (a)   Actions: the cases coordinated or consolidated for pre-trial proceedings in this
                    multidistrict litigation captioned In re Marriott International Customer Data
                    Security Breach Litigation, MDL No. 19-md-2879.

              (b) "Confidential" Information: information (regardless of how generated, stored or
                  maintained) that has not been made public, or is not otherwise available or accessible
                  in the public domain, and that the Designating Party believes: (i) contains sensitive
                  personal information (including "PH"), trade secrets or other confidential research,
                  development or commercial information, the disclosure of which may have the effect
                  of causing harm to any Party, or person from whom the information was obtained, or
                  to the Parties' or third-parties' privacy; or (ii) contains information over which the
                  Designating Party has a duty or obligation to maintain confidentiality.

              (c)   Counsel (without qualifier): Outside Counsel and House Counsel (as well as their
                    support staffs).

              (d) Designating Party: a Party or Non-Party that designates information that it produces
                  in disclosures or in responses to discovery as "Confidential" or "Highly
                  Confidential. "

              (e)   Disclosures or Discovery Material: all information, regardless of the medium or
                    manner generated, stored, or maintained (including, among other things, testimony,
                    transcripts, or tangible things), that are produced, used, or generated in disclosures or
                    responses to discovery in the Actions regardless of whether the disclosures or
                    responses to discovery occurred prior to the entry of this Order.

              (f)   Expert: a person with specialized knowledge or experience in a matter pertinent to
                    the Actions who has been retained by a Party or its Counsel to serve as an expert
                    witness or as a consultant in the Actions and who is not a current employee of a
                    Party or of a competitor of a Party and who, at the time of retention, is not
                    anticipated to become an employee of a Party or a competitor of a Party. This
                    definition includes a professional jury or trial consultant retained in connection with
                    the Actions.


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             (g) "Highly Confidential" Information: information (regardless of how generated,
                 stored or maintained) that has not been made public or is not otherwise available or
                 accessible in the public domain, and that the Designating Party believes: (i) concerns
                 or relates to the highly sensitive personal, confidential, financial, commercial,
                 proprietary, cybersecurity, competitively sensitive, or trade secret information of any
                 Party or any third party; or (ii) contains "PH", personnel files, or personal contact
                 information for any person.

              (h) House Counsel: attorneys who are employees of a Party or Non-Party (as well
                  as their support staff).

              (i) Non-Party: any individual or entity that is not a Party to the Actions, but
                  receives a subpoena for Discovery Material from a Party;

              (j)   Outside Counsel: attorneys who are not employees of a Party or Non-Party but who
                    are retained to represent or advise a Party or Non-Party in the Actions (as well as
                    their support staff).

              (k) Party: any party to the Actions, including all of its officers, directors, and employees.

              (I)   "PH": Personally Identifiable Information, which, for purposes of this Order,
                    includes, but is not limited to: payment card numbers, financial account numbers,
                    social security numbers, addresses, phone numbers, e-mail addresses, driver's
                    license numbers or other state identification numbers, employer identification
                    numbers, tax identification numbers, passport numbers, or a foreign government
                    equivalent of any of these numbers or identifiers, or other personal data that may, in
                    combination, reveal sensitive PH.

              (m) Producing Party: a Party or Non-Party that produces Disclosure or Discovery
                  Material in the Actions.

              (n) Professional Vendors: persons or entities specifically engaged for the limited
                  purpose of providing litigation support services (e.g., ESI vendors; photocopying;
                  videotaping; translating; preparing exhibits or demonstrations; organizing, storing,
                  retrieving data in any form or medium; investigators and consultants; court
                  reporters) and their employees and subcontractors, but only after such persons have
                  completed the Declaration attached hereto and agree to be bound by its terms.

              (0) Protected Material: any Disclosure or Discovery Material that is designated as
                    "Confidential" or "Highly Confidential" pursuant to this Order.

              (p) Receiving Party: a Party that receives Disclosure or Discovery Material from a
                  Producing Party in any of the Actions for purposes of that Action.

              (q) Track: each of the categories of cases into which the Actions have been grouped
                  under the Court's Management Orders, including Case Management Order #2 (ECF
                  No. 238), namely the Consumer, Financial Institution, Securities, and Derivative
                  Tracks.


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        2. SCOPE

             The protections conferred by this Order cover not only Protected Material (as defined in

   Section 1(n), supra), but also any information copied or extracted therefrom, and all copies,

   excerpts, summaries, or compilations thereof, plus testimony, conversations, or presentations by

   Parties or Counsel to or in Court or in other settings that might reveal Protected Material.

        3. DURATION

             Even after the termination of the Actions, the confidentiality obligations imposed by this

   Order shall remain in effect until a Designating Party agrees otherwise in writing or a Court order

   otherwise directs.

        4. DESIGNATING PROTECTED MATERIAL

              (a)   Exercise of Restraint and Care in Designating Material for Protection. Each Party

   or Non-Party that designates information for protection under this Order must take care to limit

   any such designation to specific material that qualifies under appropriate standards. A

   Designating Party must take care to designate for protection only those parts of material,

   Documents, or oral or written communications that qualify - so that other portions of the

   material, Documents, or communications for which protection is not warranted are not swept

   unjustifiably within the ambit of this Order. If it comes to a Party's or Non-Party's attention that

   information it designated for protection does not qualify for protection at all, or does not qualify

   for the level of protection initially asserted, that Party or Non-Party must promptly notify the

   other Parties that it is withdrawing the mistaken designation and, if applicable, designating a

   different level of protection.

              (b)   Manner and Timing of Designations. Except as otherwise provided in this Order

   (see, e.g., second paragraph of Section 4(b)(i) below), or as otherwise stipulated or ordered,

   material that qualifies for protection under this Order must be clearly so designated before the


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   material is disclosed or produced.

                   Designation   in conformity with this Order requires:

                                 (i)   for information in documentary      form (apart from transcripts of

   depositions or other pretrial or trial proceedings):       that the Producing Party affix the legend

   "CONFIDENTIAL"          or "HIGHLY CONFIDENTIAL"                on each page that contains protected

   materia!. If only a portion or portions of the material on a page qualifies for protection, the

   Producing Party also must clearly identify the protected portions (e.g., by redacting Highly

 . Confidential    information or making appropriate markings in the margins) and must specify, for

   each portion, the level of protection being asserted (i.e., "CONFIDENTIAL"             or "HIGHLY

   CONFIDENTIAL").

                                 If a Party or Non-Party makes documents available for inspection,

   rather than delivering copies to another Party, no marking need be made in advance of the initial

   inspection. For purposes of the initial inspection, all documents produced shall be c~nsidered as

   marked "HIGHLY        CONFIDENTIAL."         Thereafter, upon the inspecting Party's selection of

   documents for copying, the Producing Party may mark the copies "CONFIDENTIAL"                    or

   "HIGHL Y CONFIDENTIAL"              pursuant to this Order.

                                 (ii) for testimony given in deposition or in other pretrial or trial

   proceedings:    that the Designating Party on the record, during the deposition, hearing, or other

   proceeding, or within 21 days of receiving the transcript of the proceeding (or such other period

   as the Parties shall mutually agree), shall provide written notice to Co-Lead Counsel and

   Coordinating    Discovery Counsel for the respective Track or Actions (as set forth in Case

   Management      Order #2 (ECF No. 238), or as subsequently         designated by the Court) as to portions

   of the testimony that are designated "CONFIDENTIAL"               or "HIGHLY CONFIDENTIAL."




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   Unless otherwise agreed, a transcript is to be treated as "HIGHLY CONFIDENTIAL" during the

   21 days following receipt of the transcript.

                               Transcript pages containing Protected Material must be separately

   bound by the court reporter, who must affix to the top of each such page the legend

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL," as instructed by the Designating Party.

                               (iii) for information produced in some form other than documentary,

   and for any other tangible items: that the Producing Party affix in a prominent place on the

   exterior of the container or containers in which the information or item is stored the legend

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL." If only portions of the information or

   item warrant protection, the Producing Party, to the extent practicable, shall identify the

   protected portions, specifying whether they qualify as "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL."

              (c)   Failure to Designate. If timely corrected, a failure to designate qualified

   information as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" does not, standing alone,

   waive the Designating Party's right to secure protection under this Order for such materia!. If

   material is appropriately designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL"

   after the material was initially produced, the Receiving Party, on timely notification of the

   designation, must make reasonable efforts to assure that the material is treated in accordance

   with the provisions of this Order from that point forward. The Designating Party may seek relief

   to address any situation where the Receiving Party refuses, either directly or indirectly, to accord

   proper treatment of materials after notice of a failure to designate by the Designating Party.

         5. CHALLENGING CONFIDENTIALITY DESIGNATIONS

              (a)   Timing of Challenges. If the Receiving Party wishes to challenge the

   Confidentiality Designation of a particular Document or information, it may do so at any time by


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   letter or email to Counsel for the Designating Party. Until agreement is reached between Parties

   (or between a Party and Non-Party) as to a Confidentiality        Designation   or the Court rules on a

   judicial challenge to a Confidentiality       Designation pursuant to the procedures    set forth in this

   Section 5, the Document shall be treated as "CONFIDENTIAL"              or "HIGHLY

   CONFIDENTIAL"            (according to the challenged designation) pursuant to this Agreement.

              (b)     Meet and Confer. A Receiving Party that elects to initiate a challenge to a

   Designating       Party's confidentiality   designation must do so in good faith and must confer

   directly (in voice to voice dialogue or via email or letter) with Counsel for the Designating Party.

   The Receiving Party and Designating Party shall meet and confer by telephone or in person

   within 10 days after the Designating Party's receipt of a designation challenge. In conferring, the

   challenging Party must explain the basis for its belief that the confidentiality       designation was not

   proper and must give the Designating Party an opportunity to review the designated material and

   reconsider its designation. A challenging Party may proceed to the next stage of the challenge

   process only ifit has engaged in this meet and confer process first or has attempted in good faith

   to do so.

              (c)     Designating Party Response. Within 7 days after the Receiving Party and

   Designating Party meet and confer, the Designating Party must notify the challenging Party by letter or

   email whether it agrees to change the challenged designation. If no change in designation is offered, the

   Designating Party shall explain the basis for its decision.

              (d)     Judicial Intervention. A Receiving Party that elects to press a challenge to a

   confidentiality     designation after considering the written response by the Designating       Party

   may, within 14 days after receipt of the Designating Party's written response, file a letter with

   the Court identifying the issues the challenging Party wishes to raise with the Court and

   requesting a motions conference. The three to five page letter must identify the challenged


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   material and set forth the basis for the challenge and the explanation given by the Designating

   Party during the meet and confer process. Each such letter also must state that (I) the movant

   has complied with the meet and confer requirements imposed in the preceding paragraph; and

   (2) the material has been maintained as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL"

   (according to the challenged designation) while the dispute is being resolved.

         The burden of persuasion in any such challenge proceeding shall be on the Designating

   Party. Until the court rules on the challenge, all Parties and others subject to this Order shall

   continue to afford the material in question the level of protection to which it is entitled under

   the Designating Party's designation.

        6. ACCESS TO AND USE OF DISCLOSURE OR DISCOVERY MATERIAL

              (a)   Basic Principles. A Receiving Party may use Disclosure or Discovery Material

   only for prosecuting, defending, or attempting to settle the respective Actions or Tracks in which

   Disclosure or Discovery Material was produced. Such Disclosure or Discovery Material may be

   disclosed only to the categories of persons and under the conditions described in this Order.

   When the Actions have been terminated, a Receiving Party must comply with the provisions of

   Section 10, below (FINAL DISPOSITION). Protected Material must be stored and maintained

   by a Receiving Party at a location and in a secure manner that ensures access is limited to the

   persons authorized under this Order.

              (b)   Disclosure of "CONFIDENTIAL" Information. Unless otherwise ordered by the

   Court or permitted in writing by the Designating Party, a Receiving Party may disclose any

   information designated CONFIDENTIAL only to:

                               (i)        the Receiving Party's House Counsel responsible forthe

   prosecution or defense of the Action(s);

                               (ii)       the Receiving Party's Outside Counsel;


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                                (iii)        Experts (as defined in this Order) of the Receiving Party, as

   well as employees of Experts, to whom disclosure is reasonably necessary for the Action(s) and

   who have signed the Declaration attached hereto as Exhibit A;

                                (iv)         the Receiving Party's insurers and their employees;

                                (v)          the Court and its personnel, subject to the procedures of

   Section 9 below;

                                (vi)         court reporters, their staff, and Professional Vendors

   retained for purposes of the Action(s);

                                (vii)        Parties and Party employees required in good faith to assist

   Counsel in the conduct of the Action(s) to whom disclosure is reasonably necessary and who

   have signed the Declaration attached hereto as Exhibit A;

                                (viii)       the author(s) of the document or the original source(s) of

   the information

                                (ix)         during their depositions, witnesses in the action to whom

   disclosure is reasonably necessary, provided: (1) the deposing Party requests that the witness

   sign the Declaration    attached as Exhibit A hereto; and (2) the witness will not be permitted to

   keep any confidential    information unless they sign the Declaration (Exhibit A), unless otherwise

   agreed by the Designating Party or ordered by the Court;

                                (x)          any mediators, secretaries, paraprofessional   assistants, and

   other employees of such mediators who are actively engaged in assisting the mediators in

   connection with this matter and who have signed the Declaration attached as Exhibit A; and

                                (xi)         if a mock jury trial is utilized, mock jurors who sign the

   requisite documentation     to be negotiated by the Parties and approved or distributed by the jury




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   consulting service provider to such mock jurors.

              (c)   Disclosure of "HIGHLY CONFIDENTIAL" Information. Unless otherwise

   ordered by the Court or permitted in writing by the Designating Party, a Receiving Party may

   disclose any information designated HIGHLY CONFIDENTIAL only to:

                              (i)        the Receiving Party's Outside Counsel;

                              (ii)       the Receiving Party's House Counsel responsible for the

   prosecution or defense of the Action(s);

                              (iii)      Experts (as defined in this Order) of the Receiving Party, as

   well as employees of Experts, to whom disclosure is reasonably necessary for the Action(s) and

   who have signed the Declaration attached hereto as Exhibit A;

                              (iv)       the Receiving Party's insurers and their employees;

                              (v)        the Court and its personnel, subject to the procedures of

   Section 9 below;

                              (vi)       court reporters, their staff, and Professional Vendors

   retained for purposes of the Action(s);

                              (vii)      Parties and Party employees required in good faith to assist

   Counsel in the conduct of the Action(s) to whom disclosure is reasonably necessary and who

   have signed the Declaration attached hereto as Exhibit A;

                              (viii)         the author(s) of the document or the original source(s) of

   the information;

                              (ix)       during their depositions, witnesses in the action to whom

   disclosure is reasonably necessary, provided: (1) the deposing Party requests that the witness

   sign the Declaration attached as Exhibit A hereto; and (2) they will not be permitted to keep any

   confidential information unless they sign the Declaration (Exhibit A), unless otherwise agreed by


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   the Designating Party or ordered by the Court;

                                 (x)         any mediators, secretaries, paraprofessional assistants, and

   other employees of such mediators who are actively engaged in assisting the mediators in

   connection with this matter and who have signed the Declaration attached as Exhibit A; and

                                 (xi)        if a mock jury trial is utilized, mock jurors who sign the

   requisite documentation to be negotiated by the Parties and approved or distributed by the jury

   consulting service provider to such mock jurors.

        7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
           OTHER LITIGATION

              If a Receiving Party is served with a subpoena or an order or other legally enforceable

   demand issued in other litigation or proceedings before any administrative or legislative body, or

   any other person or organization purporting to have authority to subpoena that would compel

   disclosure of any information designated in the Actions as "CONFIDENTIAL" or "HIGHLY

   CONFIDENTIAL," the Receiving Party must so notify the Designating Party in writing (by

   email, if possible) immediately and in no event more than three (3) court days after receiving the

   subpoena, order, or demand. Such notification must include a copy of the subpoena, order, or

   demand. The Receiving Party also must immediately inform in writing the party who caused the

   subpoena, order, or demand to issue in the other proceeding that some or all the material covered

   by the subpoena, order, or demand is the subject of this Order. In addition, the Receiving Party

   must deliver a copy of this Order promptly to the party in the other proceeding that caused the

   subpoena, order, or demand to issue. Under no circumstances shall the Receiving Party produce

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" information absent a specific Order by the

   Court after an appropriate Motion to Quash and/or Compel has been filed.

              The purpose of imposing these duties is to alert the interested parties to the existence of

   this Order and to afford the Designating Party in the Actions an opportunity to try to protect its

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  confidentiality     interests in the court or body from which the subpoena, order, or demand issued.

  The Designating Party shall bear the burdens and the expenses of seeking protection of its

  confidential materia!. Nothing in these provisions should be construed as authorizing or

   encouraging      a Receiving Party in the Actions to disobey a lawful directive from another court or

  body authorized to issue such directives.

        8. UNAUTHORIZED DISCLOSURE OF DISCLOSURE OR DISCOVERY
           MATERIAL

             If a Receiving Party learns that, by inadvertence    or otherwise, it has disclosed Disclosure

   or Discovery Material, including Protected Material, to any person or in any circumstance           not

   authorized under this Order, the Receiving Party must immediately          (a) notify in writing the

   Designating Party of the unauthorized       disclosures, (b) use its best efforts to retrieve all copies of

   the Disclosure or Discovery Material, (c) inform the person or persons to whom unauthorized

   disclosures were made of all the terms of this Order, and (d) request such person or persons to

   execute the Declaration that is attached hereto as Exhibit A.

        9. FILING PROTECTED MATERIAL

              If any Protected Material (or any pleading, motion, or memorandum         disclosing them) is

   proposed to be filed or is filed with the Court, the Protected Material, or any portion thereof

   which discloses confidential      information, shall be filed under seal (by the filing party) with the

   Clerk of the Court with a simultaneous       motion pursuant to L.R. 104.13( c) (hereinafter the

   "Interim Sealing Motion"), in accordance with the current version of the Court's Electronic

   Filing Requirements      and Procedures for Civil Cases. The Interim Sealing Motion shall be

   governed by L.R. 105.11. Even if the filing party believes that the materials subject to the

   Confidentiality     Order are not properly classified as confidential, the filing party shall file the

   Interim Sealing Motion; provided, however, that the filing of the Interim Sealing Motion shall be




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   wholly without prejudice to the filing party's rights under Section (5) of this Order.

         10. FINAL DISPOSITION

              Unless prohibited by law or otherwise ordered or agreed in writing by the Producing

   Party, within sixty (60) days after the final termination of the Actions (including any appeals),

   each Receiving Party must either: (a) return all Protected Material to the Producing Party; or (b)

   destroy all Protected Material, as directed in writing by the Producing Party. As used in this

   subdivision, "all Protected Material" includes all copies, abstracts, compilations,   summaries, or

   any other form of reproducing     or capturing any of the Protected Material. Whether the Protected

   Material is returned or destroyed, the Receiving Party must submit a written certification to the

   Producing Party (and, ifnot the same person or entity, to the Designating     Party) by the sixty (60)

   day deadline that identifies (by category, where appropriate) all the Protected Material that was

   returned or destroyed and that affirms that the Receiving Party has not retained any copies,

   abstracts, compilations,   summaries, or other forms of reproducing   or capturing any of the

   Protected Material. Notwithstanding     this provision, (i) Counsel are not expected to access and

   extract any Protected Material from their disaster recovery systems; and (ii) Counsel are entitled

   to retain an archival copy of all pleadings, motion papers, transcripts,   legal memoranda,

   correspondence,     or attorney work product, even if such materials contain Protected Material.

   Any such archival copies that contain or constitute Protected Material remain subject to this

   Order as set forth in Section 3 (DURA nON),       above.

         11. REDACTION OF PH

              (a)    Any Producing Party may redact from any Disclosures or Discovery Material

   any "PH", personnel files, or personal contact information for any person. Any Party or Non-

   Party may designate as "Highly Confidential"      those Documents, testimony, or information

   containing "personal data" within the meaning of the European Union's General Data Protection


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   Regulation (GDPR) or other applicable privacy law or regulation if the GDPR applies to such

   materials, in which case the Party or Non-Party may redact such personal data contained within

   said materials. If the same responsive information is otherwise available and not subject to

   GDPR such information should be produced consistent with the terms of this Order which

   provides adequate protection without the need for redaction.

             (b)      If a Producing Party makes redactions pursuant to Section II(a) it shall provide a

   log of redacted documents describing the redactions and confer with the Requesting Party as to

   whether the redactions will impair the Requesting Party's ability to search for relevant

   information and, if so, whether reasonable technical means exist to permit search without

   compromising       the protections   set forth herein.

         12. FRE S02(d) and CLAWBACKAGREEMENT

              Pursuant to FRE 502( d) and (e), the Parties agree to and the Court orders protection of

   privileged and otherwise protected Documents against claims of waiver (including as against

   third parties and in other federal and state proceedings)         as follows:

              (a)     Pursuant to Fed. R. Evid. 502(d) and (e), the disclosure during discovery of any

   information that is protected by the attorney-client          privilege or work-product    protection

   ("Protected Document"),        as defined by Fed. R. Evid. 502(g), shall not waive the privilege or

   protection in the particular Action in which the disclosure is made, or any other federal or state

   proceeding,      for either that Protected Document or the subject matter of that Protected Document,

   unless there is an intentional waiver of the Privilege or Protection to support an affirmative use

   of the Protected Document in support of the Party's claim or defense, in which event the scope of

   any such waiver shall be determined by Fed. R. Evid. 502(a)(2) and (3).

              (b)     The parties intend that this stipulated order shall displace the provisions of Fed. R.

   Evid. 502(b)(l)     and (2). That is, all disclosures not made to support an affirmative use of the



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   Protected Document in support of a party's claim or defense shall be regarded as "inadvertent,"

   and, subject to (c) below, the Producing Party is hereby deemed to have taken "reasonable          steps

   to prevent disclosure."

              (c)   If the underlying claim of Privilege or Protection is contested, the Parties shall

   comply with, and the Requesting Party may promptly seek ajudicial        determination     of the matter

   pursuant to, Fed. R. Civ. P. 26(b)(5)(B). In assessing the validity of any claim of Privilege or

   Protection, the Court shall not consider the provisions of Fed. R. Evid. 502(b)(l)       and (2), but

   shall consider whether timely and otherwise reasonable steps were taken by the Producing Party

   to request the return or destruction of the Protected Document once the Producing Party had

   actual knowledge of (i) the circumstances     giving rise to the claim of Privilege or Protection and

   (ii) the disclosure of the Protected Document in question.

              (d)   If, during the course of the Actions, a Party determines that any Protected

   Document disclosed by another Party or Non-Party is or may reasonably be subject to a

   legally recognizable   privilege or evidentiary protection:

                                (i) the Receiving Party shall: (A) refrain from reading the Protected

   Document any more closely than is.necessary to ascertain that it is privileged or otherwise

   protected from disclosure; (B) immediately notify the Producing Party in writing that it has

   discovered Documents believed to be privileged or protected; (C) specifically      identify the

   Protected Documents by Bates number range or hash value; and (D) within 10 days of discovery

   by the Receiving Party, return, sequester, or destroy all copies of such Protected Documents,           as

   described in Exhibit B - Clawback Procedures, along with any notes, abstracts, or compilations

   of the content thereof. If a Protected Document has been loaded into a litigation review database

   under the control of the Receiving Party, the Receiving Party shall take reasonable steps to




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   sequester and limit access to the Protected Document within the review database, pending a

   determination of a claim of privilege in accordance with Section 12(c). Where such Protected

   Documents cannot be destroyed or separated, they shall not be reviewed, disclosed, or otherwise

   used by the Receiving Party. Notwithstanding the foregoing, the Receiving Party is under no

   obligation to search or review the Producing Party's documents to identify potentially Protected

   Documents.

                               (ii) If the Producing Party intends to assert a claim of privilege or .

   other protection over information identified by the Receiving Party as Protected Documents, the

   Producing Party will, within 10 days of receiving the Receiving Party's written notification

   described above, inform the Receiving Party of such intention in writing and shall provide the

   Receiving Party with a log for such Protected Documents that is consistent with the requirements

   of the Federal Rules of Civil Procedure, setting forth the basis for the claim of privilege or other

   protection. If any portion of a Protected Document does not contain privileged or protected

   information, the Producing Party shall also provide to the Receiving Party a redacted copy that

   omits the information that the Producing Party believes is subject to a claim of privilege or other

   protection.

              (e)   If, during the course of the Actions, a Party or Non-Party determines it

   has produced a Protected Document:

                               (i) the Producing Party must notify the Receiving Party of such

   production, and demand the return of such information. Such notice shall be in writing; however,

   it may be delivered orally on the record at a deposition, promptly followed up in writing. The

   Producing Party's written notice will identify the Protected Document produced by bates number

   range or hash value, the privilege or protection claimed, and the basis for the assertion of the




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   privilege, and shall provide the Receiving Party with a log for such Protected Documents that is

   consistent with the requirements    of the Federal Rules of Civil Procedure, setting forth the basis

   for the claim of privilege or other protection. If any portion of the Protected Document does not

   contain privileged or protected information, the Producing Party shall also provide to the

   Receiving Party a redacted copy of the information that omits the information that the Producing

   Party believes is subject to a claim of privilege or other protection.

                               (ii) The Receiving Party must, within 10 days of receiving the

   Producing Party's written notification described above, return, sequester, or destroy the Protected

   Document and any copies, as described in Exhibit B - Clawback Procedures,         along with any

   notes, abstracts, or compilations   of the content thereof. If a Protected Document has been loaded

   into a litigation review database under the control of the Receiving Party, the Receiving Party

   shall take reasonable steps to sequester and limit access to the Protected Document within the

   review database, pending a determination     of a claim of privilege in accordance with Section

    12(c). Where such Protected Documents cannot be destroyed or separated, they shall not be

   reviewed, disclosed, or otherwise used by the Receiving Party except in connection with motion

   practice relating to a challenge of the asserted protection.

              (f)   If the information contained in a Protected Document has already been disclosed

   in or described in other documents generated or maintained by the Receiving Party prior to the

   date of receipt of written notice by the Producing Party as set forth in Sections 12(c)(ii) and

    12(d)(i), then the Receiving Party shall sequester such information until the claim has been

   resolved. If the Receiving Party disclosed the Protected Document before being notified of its

   production, it must take reasonable steps to retrieve it.

                               (i) The Receiving Party's return, sequestering or destruction of




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   Protected Documents as provided herein will not act as a waiver of the Receiving Party's right to

   move for the production of the returned, sequestered or destroyed information on the grounds

   that the documents are not, in fact, subject to a viable claim of privilege or protection. However,

   the Receiving Party is prohibited and estopped from arguing that the disclosure or production of

   the Protected Documents,      standing alone, acts as a waiver of an applicable privilege or

   evidentiary protection.

              (g)    Any Party or Non-Party may submit Protected Documents to the Court under

   seal for a determination    of the claim of privilege or other protection. The Producing Party

   shall preserve the Protected Documents until such claim is resolved. The Receiving Party may

   not use the Protected Documents for any other purpose absent this Court's order.

              (h)    Upon a determination   by the Court that the Protected Documents are protected by

   the applicable privilege or evidentiary protection, and if the Protected Documents have been

   sequestered rather than returned or destroyed by the Receiving Party, the Protected Documents

   shall be returned or destroyed within 10 days of the Court's order.

              (i)    After the Court's determination   that Protected Documents    are protected by an

   applicable privilege or evidentiary protection, the ProduCing Party must provide an Amended

   Privilege Log within 10 days of the Court's order setting forth such a determination.

              G)     Nothing contained herein is intended to, or shall serve to limit a party's rightto

   conduct a review of documents, data (including electronically       stored information)   and other

   information,     including without limitation, metadata, for relevance, responsiveness    and/or the

   segregation of privileged and/or protected information before such information        is produced to

   another party.

             (k)     By operation of the Parties' agreement and Court Order, the Parties and Non-Parties

   are specifically afforded the protections of FRE 502( d) and (e).


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         13. MISCELLANEOUS

               (a)   Right to Further Relief. Nothing in this Order abridges the right of any person to

   seek its modification    by the Court in the future.

               (b)   Party's Disclosure onts   Own Documents. Nothing in this Order shall prevent a

   Producing Party from disclosing its own Disclosure or Discovery Material, including Protected

   Material, in any manner it chooses.

               (c)   Right to Assert Other Objections. By stipulating to the entry of this Order, no

   Party waives any right it otherwise would have to object to disclosing or producing any

   information on any ground not addressed in this Order. Similarly, no Party waives any right to

   object on any ground to use in evidence of any of the material covered by this Order.

               (d)   Effectiveness   when Executed. Once executed by the Parties, the Stipulation shall

   be treated by the Parties as an Order of Court until it is formally approved by the Court.

               (e)   Compliance with Discovery Stays. No Disclosure or Discovery Material

   produced in any of the Actions or Tracks may be shared with or produced to any Party in any

   Track in which discovery is stayed during the pendency ofthe stay.

               STIPULATED TO THIS 5TH DAY OF FEBRUARY 2020.




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